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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


BRIAN SMITH, individually                                :      CIVIL ACTION NO.
and on behalf of all others similarly situated,          :      3:18-CV-000135 (SRU)
                                                         :
        Plaintiff,                                       :
                                                         :
vs.                                                      :
                                                         :
LIFEVANTAGE CORPORATION,                                 :
DARREN JENSEN, JUSTIN ROSE, and                          :
RYAN GOODWIN,                                            :
                                                         :
        Defendants.                                      :      JUNE 11, 2018
                                                         :

                         MOTION TO WITHDRAW APPEARANCE

        The undersigned respectfully moves to withdraw his appearance for Plaintiff Brian Smith

in this matter pursuant to Local Civil Rule 7(e). Plaintiff’s other appearing counsel, of the same

firm as the undersigned, will continue to represent him in these proceedings. Therefore, the

Court should withdraw the undersigned’s appearance.




                                                  Respectfully submitted,


                                                  By /s/ John L. Cordani, Jr.
                                                    John L. Cordani, Jr. (ct28833)
                                                    CARMODY TORRANCE SANDAK &
                                                    HENNESSEY LLP
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                                        CERTIFICATION

        I hereby certify that on this 14th day of June 2018, a copy of the foregoing Motion to

Withdraw Appearance was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail on anyone unable to accept electronic filing.




                                                         /s/ John L. Cordani, Jr.
                                                         John L. Cordani, Jr.




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